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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ACUITY, A MUTUAL INSURANCE COMPANY,

       Plaintiff,

v.                                                            No. 1:21cv00854 SCY/JFR

LBJ ENTERPRISES, LLC

       Defendant.


               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
       THIS MATTER having come before the Court on the Parties’ Joint Motion to Dismiss

with Prejudice and the Court having fully informed in the premises, FINDS that the Motion is

well taken and should be granted.

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that Plaintiff Acuity, A

Mutual Insurance Company’s Complaint and Defendant LBJ Enterprises, LLC’s Counterclaim

and all claims the parties have made against each other in this litigation in this matter, are hereby

dismissed with prejudice, with each party bearing their own costs and attorneys’ fees.


                                              ____________________________________
                                              THE HONORABLE STEVEN C. YARBROUGH
                                              UNITED STATES MAGISTRATE JUDGE
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Submitted By:


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